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v Case Number 2203€1§.§§_21§3-01-[!;) §§
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ALFRED .IENKINS

.]UDGMENT AND COMMITMENT ORDER
ON REVOCATION OF SUPERVISED RELEASE

(For OITenses Commil|ed On or After Noveml\er 1, 1987)

The defendant, ALFRED .]ENKINS, was represented by Ms. Mary Catherine Jennami.

lt appearing that the defend

ant, who Was sentenced in the above-styled cause by the
Hon. Bernice B. Donal_d. on lanuary 15, 2004, and Was placed on supervised release
of four (4) years,

for a period
has violated the terms of his supervision, it is hereby ORDERED and ADIUDGED
that defendant’ s supervised release be revoked and that defend

ant be committed to the custody of
the United States Bureau of Prisons to be imprisoned for a tenn of time already served

The defendant shall be placed on further Supervised Release for a period ot` four (4) years
The previous conditions of defendant’s supervision are re-irnposed. The defendant shall
comply with the standard conditions of supervised release as set forth on Page 2 of this Judgrnent.

signedthis=@ **day@r g limit ,2005_

CM /Q/M

B iiNIcE B. noman
nited States District Judge

 

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DEI“'ENDAl\`T: ALFRED J'ENKINS
CASE NUMBER: 2:03 CRZOZ?.g-Gl -D

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STANDARD CONDITIONS OF SUPERVISION

The defendant shall not commit another i'ederal, state, or local crilne.

The defendant shall not illegally possess a controlled substance

The defendant shall not possess a firearm or destructive device.

The defendant shall not leave the judicial district without the permission of the court or probation of`licer;

The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful
and complete written report within the first five days of each month‘,

The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
officer‘,

The defendant shall support his or her dependents and meet other family responsibilities;

The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training,
or other acceptable reasons;

The defendant shall notify the probation officer within seventy-two hours of any chan ge in residence or employment;

The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute or administer
any narcotic or other controlled substance, or any paraphernalia related to such substances except as prescribed by a.
physician;

The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
convicted of a felony unless granted permission to do so by the probation officer',

The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view by the probation officer;

The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned byalaw
enforcement ofticer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendants criminal record or personal history or characteristics and shall permit the probation officer to make such
notifications and to confirm the defendant’s compliance with such notification requirement

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 2:03-CR-20229 Was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

 

 

PDA

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Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

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Honorable Bernice Donald
US DISTRICT COURT

